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      Record Citations For Facts
 ¶¶ 62, 64, 65, 69, 72, 74, 76, 78, 101,
 102, and 116 from the United States’
  Statement of Undisputed Material
Facts and Excerpts from Claud Clark’s
  Conservation Easement Appraisals




                                Exhibit
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                                                                                               Excerpts from Clark's Conservation Easement Appraisals



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                                                                                    Appraisal (SUF   SUF ¶ 78       SUF ¶ 65           SUF ¶ 64       SUF ¶ 62       SUF ¶ 74       SUF ¶ 76       SUF ¶ 101      SUF ¶ 102      SUF ¶ 69     SUF ¶ 72
 1                                                                                  ¶ 116)
 2   Appraisal of Arcadian Quay, LLC (excerpts)               ECOVEST‐DOJ_0074308   2                2              3                  3‐4            4              9              12             14             15             16           17
 3   Appraisal of Azalea Bay Resort Holdings, LLC (excerpts) CC_IRSAUD00029215      19               19             20                 20‐21          21             26             29             31             32             33           34
 4   Appraisal of Azul Bay Resort Holdings, LLC (excerpts)    ECOVEST‐DOJ_0163768   36               36             37                 38             39             48             51             54             55             N/A          57
 5   Appraisal of Beech Springs Resort Holdings, LLC (excerpt ECOVEST‐DOJ_0020711   59               59             60                 60‐61          61             66             69             74             75             76           77
 6   Appraisal of Bellavista Grove Holdings, LLC (excerpts) ECOVEST‐DOJ_0042959     79               79             80                 80‐81          81             86             89             92             93             94           95
 7   Appraisal of Belle Harbour Resort Holdings, LLC (excerpt ECOVEST‐DOJ_0017582   97               97             98                 98‐99          99             104            107            109            110            111          112
 8   Appraisal of Birch Equestrian Holdings, LLC (excerpts) ECOVEST‐DOJ_0106846     114              N/A            114                115            116            120            123            126            N/A            128          129
 9   Appraisal of Birkdale Landing Holdings, LLC (excerpts) ECOVEST‐DOJ_0157468     131              132            132                133            134            138            141            144            145            N/A          147
10   Appraisal of Brunswick Highlands Holdings, LLC (excerptsECOVEST‐DOJ_0108629    149              N/A            149                150‐151        152            156            159            161            161            162          163
11   Appraisal of Camellia Station Holdings, LLC (excerpts) ECOVEST‐DOJ_0069751     165              165            166                166‐167        167            172            175            177            178            179          180
12   Appraisal of Cane Creek Holdings, LLC (excerpts)         CC_IRSAUD00035292     182              N/A            182                183            184            188            191            194            N/A            196          197
13   Appraisal of Carolina Bays Resort Holdings, LLC (excerptsECOVEST‐DOJ_0129432   199              199            200                200‐201        201            206            209            211            212            213          214
14   Appraisal of Cayo Dorado Holdings, LLC (excerpts)        ECOVEST‐DOJ_0153542   216              217            217                218            219            228            231            234            235            N/A          237
15   Appraisal of Cayo Marsopa Holdings, LLC (excerpts)       ECOVEST‐DOJ_0078704   239              239            240                240‐241        241            246            249            253            254            255          256
16   Appraisal of Coastavista Palms Holdings, LLC (excerpts) ECOVEST‐DOJ_0038749    258              258            259                259‐260        260            265            268            274            275            276          277
17   Appraisal of Copano Cove Holdings, LLC (excerpts)        ECOVEST‐DOJ_0197844   279              282            280‐281            282‐283        279            294            297            302            N/A            N/A          304
18   Appraisal of Cottonwood Cove Holdings, LLC (excerpts) ECOVEST‐DOJ_0183595      306              309            307                309‐310        306            316            319            326            N/A            N/A          328
19   Appraisal of Cristobal Key, LLC (excerpts)               ECOVEST‐DOJ_0083113   330              330            331                331‐332        332            337            340            345            346            347          348
20   Appraisal of Cypress Cove Marina Holdings, LLC (excerpt ECOVEST‐DOJ_0009219    350              350            351                351‐352        352            357            360            362            363            364          365
21   Appraisal of Diamond Grande Resort Holdings, LLC (exceECOVEST‐DOJ_0022897      367              367            368                368‐369        369            374            377            379            380            381          382
22   Appraisal of Dumpling Mountain, LLC (excerpts)           ECOVEST‐DOJ_0335900   384              N/A            384                385‐386        386            390            393            395            N/A            396          397
23   Appraisal of Espiritu Shores Holdings, LLC (excerpts)    ECOVEST‐DOJ_0209961   399              402            400                402‐403        399            413            416            418            N/A            N/A          420
24   Appraisal of Garden Lakes Estates Holdings, LLC (excerptECOVEST‐DOJ_0126605    422              422            423                423‐424        424            429            432            434            435            436          437
25   Appraisal of Glade Creek, LLC (excerpts)                 ECOVEST‐DOJ_0222480   439              N/A            439                440‐441        441            445            448            451            N/A            452          453
26   Appraisal of Greenway Holdings Acquisitions, LLC (excer ECOVEST‐DOJ_0116209    455              N/A            455                456            457            461            464            469            N/A            470          471
27   Appraisal of Hammersmith Landing Holdings, LLC (excerpECOVEST‐DOJ_0194025      473              476            474                476‐477        473            483            486            490            N/A            N/A          492
28   Appraisal of Harbor Gate at Seadrift Holdings, LLC (excerECOVEST‐DOJ_0206112   494              497            495                497‐498        494            508            511            514            N/A            N/A          517
29   Appraisal of Hickory Equestrian, LLC (excerpts)          ECOVEST‐DOJ_0332645   519              N/A            519                520‐521        521            525            528            530            N/A            531          531
30   Appraisal of Hickory Preserve Holdings, LLC (excerpts) ECOVEST‐DOJ_0121566     534              534            535                535‐536        537            542            545            553            553            554          555
31   Appraisal of High Rocks, LLC (excerpts)                  ECOVEST‐DOJ_0332840   557              N/A            557                558            559            563            566            570            N/A            571          572
32   Appraisal of Highway 30, LLC (excerpts)                  ECOVEST‐DOJ_0223766   574              N/A            574                575            576            580            583            585            N/A            586          587
33   Appraisal of Indigo Sound Holdings, LLC (excerpts)       ECOVEST‐DOJ_0213350   589              592            590                592‐593        589            599            602            605            N/A            N/A          607
34   Appraisal of Lakeshore Resort Holdings, LLC (excerpts) ECOVEST‐DOJ_0060367     609              609            610                610‐611        611            616            619            622            623            624          625
35   Appraisal of Land of the Lake Holdings, LLC (excerpts) ECOVEST‐DOJ_0233391     627              N/A            627                628            629            633            636            638            N/A            639          640
36   Appraisal of Leland Forest Holdings, LLC (excerpts)      ECOVEST‐DOJ_0111350   642              N/A            642                643‐644        645            649            652            654            654            655          656
37   Appraisal of Long Bay Marina Holdings, LLC (excerpts) ECOVEST‐DOJ_0132194      658              658            659                659‐660        660            665            668            670            671            672          673
38   Appraisal of Magnolia Bay Resort Holdings, LLC (excerptsECOVEST‐DOJ_0007074    675              675            676                676‐677        677            682            685            687            688            689          690
39   Appraisal of Maple Equestrian, LLC (excerpts)            ECOVEST‐DOJ_0224289   692              N/A            692                693‐694        694            698            701            703            N/A            704          705
40   Appraisal of Meadow Creek Holdings, LLC (excerpts)       ECOVEST‐DOJ_0233588   707              N/A            707                708            709            713            716            719            N/A            N/A          722
41   Appraisal of Miramar Pointe Holdings, LLC (excerpts)     ECOVEST‐DOJ_0201943   724              727            725                727‐728        724            738            741            747            N/A            N/A          749
42   Appraisal of Montego Pointe Holdings, LLC (excerpts) ECOVEST‐DOJ_0186699       751              753            752‐753            754‐755        751            765            767‐768        770            N/A            N/A          772
43   Appraisal of Monterrey Cove Holdings, LLC (excerpts) ECOVEST‐DOJ_0102366       774              775            775                776            777            786            789            791            792            N/A          794
44   Appraisal of Myers Cove Holdings, LLC (excerpts)         ECOVEST‐DOJ_0226905   796              N/A            796                797            798            802            805            809            N/A            811          812
45   Appraisal of Myrtle Cove Resort Holdings, LLC (excerpts) ECOVEST‐DOJ_0143459   814              815            815                816            817            821            824            827            828            N/A          830
46   Appraisal of Myrtle West Resort Holdings, LLC (excerpts) ECOVEST‐DOJ_0047202   832              832            833                833‐834        834            839            842            844            845            846          847
47   Appraisal of Neuse Harbor Holdings, LLC (excerpts)       ECOVEST‐DOJ_0190386   849              852            850                852‐853        849            859            862            865            N/A            N/A          868
48   Appraisal of New River Preserve Holdings, LLC (excerpts)ECOVEST‐DOJ_0123857    870              870            871                871‐872        872            877            880            882            883            884          885
49   Appraisal of North Bay Cove , LLC (excerpts)             ECOVEST‐DOJ_0065163   887              887            888                888‐889        889            894            897            899            900            901          902
50   Appraisal of Ocean Grove Resort Holdings, LLC (excerpts ECOVEST‐DOJ_0051546    904              904            905                905‐906        906            911            914            916            917            918          919




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                                                                                    Appraisal (SUF   SUF ¶ 78       SUF ¶ 65            SUF ¶ 64       SUF ¶ 62       SUF ¶ 74       SUF ¶ 76       SUF ¶ 101      SUF ¶ 102      SUF ¶ 69     SUF ¶ 72
 1                                                                                  ¶ 116)
51   Appraisal of Piney Cumberland Holdings (excerpts)        ECOVEST‐DOJ_0233863   921              N/A            921                 922‐923        923            927            930            932            N/A            N/A          935
52   Appraisal of Port Quay Resort Holdings, LLC (excerpts) ECOVEST‐DOJ_0149896     937              938            938                 939            940            949            952            956            957            N/A          959
53   Appraisal of Punta Vista Grande Holdings, LLC (excerpts ECOVEST‐DOJ_0176521    961              964            962                 964‐965        961            971            975            980            N/A            N/A          963
54   Appraisal of Queen's Cove Holdings, LLC (excerpts)       ECOVEST‐DOJ_0088837   985              985            986                 986‐987        987            992            995            998            999            1000         1001
55   Appraisal of Red Oak Equestrian, LLC (excerpts)          ECOVEST‐DOJ_0332259   1003             N/A            1003                1004           1005           1009           1012           1014           N/A            1016         1017
56   Appraisal of River Trace Resort Holdings, LLC (excerpts) ECOVEST‐DOJ_0030858   1019             1019           1020                1020‐1021      1021           1026           1029           1033           1034           N/A          1036
57   Appraisal of Riverside Preserve Holdings, LLC (excerpts) ECOVEST‐DOJ_0091357   1038             1038           1039                1039‐1040      1040           1045           1048           1050           1051           1052         1053
58   Appraisal of Rocky Creek Plantation Acquisitions, LLC (exECOVEST‐DOJ_0118764   1055             1055           1056                1056‐1057      1058           1062           1065           1071           1072           1073         1074
59   Appraisal of Sanibel Resort Holdings, LLC (excerpts)     ECOVEST‐DOJ_0012950   1076             1076           1077                1077‐1078      1078           1083           1086           1089           1090           1091         1092
60   Appraisal of Santo Bay Resort Holdings, LLC (excerpts) ECOVEST‐DOJ_0170095     1094             1095           1095                1096           1097           1106           1109           1112           1113           N/A          1115
61   Appraisal of Seavista Resort Holdings, LLC (excerpts)    ECOVEST‐DOJ_0026636   1117             1117           1118                1118‐1119      1119           1124           1127           1130           1131           1132         1133
62   Appraisal of Shining Star Properties XI, LLC (excerpts) ECOVEST‐DOJ_0333870    1135             N/A            1135                1136‐1137      1137           1141           1144           1148           N/A            N/A          1151
63   Appraisal of South Bay Cove Holdings, LLC (excerpts)     ECOVEST‐DOJ_0034544   1153             1153           1154                1154‐1155      1155           1160           1163           1165           1166           1167         1168
64   Appraisal of Tortuga Trace Holdings, LLC (excerpts)      ECOVEST‐DOJ_0179870   1170             1173           1171                1173‐1174      1170           1185           1188           1193           N/A            N/A          1196
65   Appraisal of Trout Creek, LLC (excerpts)                 ECOVEST‐DOJ_0224553   1198             N/A            1198                1199           1200           1204           1207           1210           N/A            1211         1212
66   Appraisal of Tupelo Grove Holdings, LLC (excerpts)       ECOVEST‐DOJ_0167318   1214             1215           1215                1216           1217           1221           1224           1226           1227           N/A          1229
67   Appraisal of Turkey Creek Resort Holdings, LLC (excerpts ECOVEST‐DOJ_0160558   1231             1232           1232                1233           1234           1238           1241           1243           1244           N/A          1246
68   Appraisal of Waterway Grove Holdings, LLC (excerpts) ECOVEST‐DOJ_0095500       1248             1248           1249                1249‐1250      1250           1255           1258           1260           1261           1262         1263
69   Appraisal of White Oak Equestrian, LLC (excerpts)        ECOVEST‐DOJ_0225003   1265             N/A            1265                1266‐1267      1267           1271           1274           1276           N/A            1277         1278
70   Appraisal of White Sands Village Holdings, LLC (excerpts)ECOVEST‐DOJ_0056022   1280             1280           1281                1281‐1282      1282           1287           1290           1292           1293           1294         1295
71   Appraisal of Wilderness Lake Holdings, LLC (excerpts) ECOVEST‐DOJ_0113645      1297             N/A            1297                1298           1299           1303           1306           1313           1313           1314         1315




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The cost approach to Fair Market Value utilizes reproduction or replacement cost. This cost is
often obtained from local sources and Marshall and Swift Valuation Service. Cost developed is
compared with local data. Sales comparison approach entails a review and analysis of sales of
comparable properties and concludes with a correlation of market data where relevant material is
brought together and summarized into a Fair Market Value statement. The role of the income
approach is to develop the present worth of an income stream, which the property can generate
with its highest and best use. This approach is based largely on the concept that Fair Market
Value, in effect, is the present worth of future rights to income.

Following completion of the appraisal, which will include processing of the approaches, as
dictated by the circumstances, the process is finished through the reconciliation or correlation.

In the reconciliation (correlation), a final Fair Market Value statement is developed which
reflects the main elements of the data. The merits and limitations of each approach are reviewed
and weighed. Reconciliation (or data correlation) is Step 7.

The eighth and final step in an appraisal comprises reporting the findings to the client or reader.
Report concludes with a certification, as well as assumptions and limiting conditions upon which
the certification is based. Reports are of varying length and content.

An appraisal is only an opinion of Fair Market Value, based on the information that can be
uncovered during the time permitted. In the process, the appraiser will develop several Fair
Market Value estimates, which he will weigh and finally correlate into a final Fair Market
Value estimate or range of Fair Market Values, depending on the requirements of the
assignment. An appraiser can only estimate Fair Market Value; he can examine the data and
exercise his judgment to arrive at an educated opinion of Fair Market Value. It is not a fact.
Scope and goal of the appraisal report are outlined at this point. Appraisal will include the
accumulation of information, sales, neighborhood and area data, as they relate to Fair Market
Value and the property rights, which are described in the report. The typical appraisal of
minable properties involves one or two approaches.

In the following sections of the report, I have estimated the Fair Market Value of the Subject
Property both before and after the donation of the easement utilizing all of the applicable
approaches to Fair Market Value. Then, consistent with the principles of easement appraising, I
have subtracted the estimated subject Fair Market Value after the easement from the estimated
Fair Market Value before the easement, and then made a deduction to reflect the cost of
constructing the additional space in the potential Subject Property before the easement. The
result of this calculation is the estimated Fair Market Value of the easement.

Since the property is vacant land with development Fair Market Value, we have used the sales
comparison approach and the income approach to Fair Market Value. The Cost Approach was
not considered.

Sales of property in the neighborhood and area will be collected and analyzed. Sale properties
accumulated share with the subject the highest and best use, which is generally comparable to
that of the appraised subject. Obtainable comparable sales sometimes require expanding the
search into nearby counties and gathering older data when no recent sales are available. We rely


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    Magnolia Bay Resort

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      Maple Equestrian

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       Meadow Creek

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        Neuse Harbor

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                                            CLAUD CLARK III, PC
                                            REAL ESTATE APPRAISERS
                                                      646 River Route
                                                 Magnolia Springs, AL 36555
                                                    Phone 251-988-1010
                                                                                           Established 1991

Claud Clark III *
Certified General Real Property Appraiser


                                            Writer's Email:   Claud@ClarkAppraisals.com


                                                      February 1, 2019

Neuse Harbor LLC
C/0
Bob McCullough
EcoVest Capital, Inc.
Monarch Tower
3424 Peachtree Rd, NE, Suite 1550
Atlanta Ga. 30346
bmccullough@ecovestcap.com


RE:       Conservation Easement Appraisal
          Neuse Harbor, LLC
          77.88 acre tract, New Bern, Craven County, North Carolina


Dear Mr. McCullough:


At your request, I have conducted the inspections, investigations, and complete analysis
necessary to appraise the above referenced real property. The appraisal is a Qualified Appraisal
Report presented in accordance with Section 170(/)(J J)(E)(i). My opinion of Fair Market Value
is premised upon the Assumptions and Limiting Conditions contained within this report.

Section 170(/)(J J)(E)(i) provides that a qualified appraisal means an appraisal that is (I) treated
as an appraisal under regulations or other guidance prescribed by the Secretary and conducted
by a qualified appraiser in accordance with generally accepted appraisal standards and any
regulations or other guidance prescribed by the Secretary.
Section 170(/)(J J)(E)(ii) provides that the term qualified appraiser means an individual who (I)
has earned an appraisal designation from a recognized professional appraiser organization or
has otherwise met minimum education and experience requirements set forth in regulations
prescribed by the Secretary, (2) regularly performs appraisals for which the individual receives
compensation, and (3) meets such other requirements as may be prescribed by the Secretary in
regulations or other guidance.


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                                                    CLAUD CLARK III, PC

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                        Excerpts from Neuse Harbor Appraisal


I have the met the minimum education and experience requirements. I regularly perform
appraisals for which I am compensated.
Section 170(/)(J J)(E)(iii) provides that an individual will not be treated as a qualified appraiser
with respect to any specific appraisal unless that individual (I) demonstrates verifiable
education and experience valuing the type ofproperty subject to the appraisal, and (2) has not
been prohibited from practicing before the Secretary 330(c) of Title 31 of the United States Code
at any time during the 3-year period ending on the date of the appraisal.
I have verifiable education and experience in valuing the type of property that is the subject of
this appraisal. I have not been barred from practicing before the Secretary at any time during the
3-year period ending on the date of this appraisal.

The definition of Fair Market Value as set forth-in Treasury Reg. l. l 70A-l(c) (2) is as follows:
Fair Market Value, as defined in section l.170A-J(c) (2) of the Income Tax Regulations is the
price at which the property would change hands between a willing buyer and a willing seller,
neither being under any compulsion to buy or sell and both having reasonable knowledge of
relevant facts.
The conservation easement audit guide gives instructions for estimating the Fair Market Value of
a conservation easement (not of property). The conservation easement audit guide provides a
clearer solution to the appraisal problem of estimating the Fair Market Value of a Conservation
Easement.
For the readers' information, I have included an excerpt from the Conservation Easement Audit
Techniques Guide.

Conservation Easement Audit Techniques Guide
Revision Date - January 24, 2018

"Before and After Method" (IRS in italics)

In theory, the best evidence ofFMV of a conservation easement is the sale price of easements
comparable to the donated easement. An appraiser should research the market to determine if
there is a substantial record of sales of comparable easements; however, in most instances,
there are no substantial record of comparable sales.

If there is no substantial record of comparable easement sales, which is usually the case, the
"before and after" approach to valuing a conservation easement is used

FMV of the property before the easement
Less: FMV of the property after the easement
Equals FMV of the conservation easement

In essence, an appraiser must determine the highest and best use (HEU) and the corresponding
FMV of the subject property twice; first, without regard to the conservation easement ("before"
value), and then again after considering the specific restrictions imposed on the property by the
deed ("after" value).




                                        CLAUD CLARK III, PC                                          2
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                        Excerpts from Neuse Harbor Appraisal



In determining the "before" value of the property, an appraiser must consider the current use of
the property but also objectively assess the likelihood that the property would be developed
absent the conservation easement restriction. Existing zoning, conservation, historic
preservation, or other laws and restriction may limit the property's potential HEU Treas. Reg.
§ 1.170A-14(h)(3)(ii).

In determining the "after" value of the property, an appraiser must consider both the specific
restrictions imposed by the conservation easement being valued and the specific restrictions
imposed by easements on any "comparable" properties.

The key word is comparable sales of conservation easements. Since we did not find a substantial
record of sales of easements comparable to the donated property, we have adopted the "before
and after" approach to valuing the donated easement.

 § 1. l 70A-14 26 CFR Ch. I (4-1-03 Edition)
(ii) Fair Market Value ofproperty before and after restriction. If before and after valuation is
used, the Fair Market Value of the property before contribution of the conservation restriction
must take into account not only the current use of the property, but also an objective assessment
of how immediate or remote the likelihood is that the property, absent the restriction, would in
fact be developed, as well as any effect.from zoning, conservation, or historic preservation laws
 that already restrict the property's potential highest and best use.

I followed the guidelines of the IRS to determine the Fair Market Value of the easement. This
report has been prepared, to the best of my knowledge, to the standards and requirements of the
Internal Revenue Code and the Treasury.

The intended use of the appraisal is for estimating the Fair Market Value of a 77.88-acre
conservation easement in Craven County, North Carolina. Intended user recognizes that any
information furnished by the appraiser does not constitute investment, accounting, legal or tax
advice. Intended user is not relying on the appraiser with respect to the economic or tax
considerations of intended user relating to an investment, in particular the possibility of the
intended user receiving a charitable deduction. The intended users are the donors and the IRS for
the purpose of estimating the Fair Market Value of a perpetual easement donated to the:

North American Land Trust
100 Hickory Hill Road
P.O. Box 467
Chadds Ford, PA 19317

I made a study of the parcel that is legally described in the easement documents for estimating
the Fair Market Value of the fee simple ownership interest, "before" and "after" the
establishment of a perpetual conservation easement thereon.

Hypothetical Condition is defined as: a condition, directly related to a specific assignment, which
is contrary to what is known by the appraiser to exist on the effective date of the assignment
results but is used for the purpose of analysis.



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Extraordinary Assumption: is defined by USP AP as: an assumption, directly related to a specific
assignment, as of the effective date of the assignment results, which, if found to be false, could
alter the appraiser's opinions or conclusions.

Hypothetical conditions and Extraordinary Assumptions:

Hypothetical Condition: As of the date of value, the subject property is encumbered
with a conservation easement; however, it will be supposed in the valuation of the
subject before encumbrance that the conservation easement does not exist and after
encumbrance that the conservation easement does exist.

Hypothetical Condition: This appraisal is made under a hypothetical condition that
certain improvements (as shown in the development plan) are made to the Subject
Property that are assumed to be in place when, in fact, they are not.

Extraordinary Assumption: I have relied on a strategic planning market analysis from
Belinda Sward with Strategic Solutions in valuing the Subject Property. If those
conclusions are found to be incorrect, this appraisal will be amended by the
appraiser.

Extraordinary Assumption: As of the date of value, the appraisal was made under the
assumption that all necessary permits (including those related to zoning) could be
obtained to develop the property according to the development plan.

Extraordinary Assumption: As of the date of value, the appraisal was made under the
assumption that the future ownership is not a related party to the current owner.

Based upon my market research, inspection of the subject, its environs, comparable properties,
subsequent analyses, and professional judgment, I formed the opinion that the Fair Market Value
of the fee simple interest of the Subject Property as of December 4, 2018, and Before the Subject
Property is encumbered by the easement is as follows:



 Fair Market Value of the Subject Before the Easement Fee Simple

The Fair Market Value of the fee simple interest of the Subject Property subject to a perpetual
conservation easement as of December 4, 2018 is:



 Total Fair Market Value After the Easement Fee Simple

The encumbered property also includes four reserved residential building zones and one
community building zone. In theory, if taken as separate components of the valuation, the
building area and the remaining eased area that cannot be improved have different values. These
sites remain part of the eased property and are subject to the rules and restrictions of the
easement, they do maintain limited building rights and the eased property does retain some
limited subdivision rights, as defined by the easement. It should be noted that these areas are not
build ready and will incur some development costs to make them so. I have decided that these




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properties do not warrant any additional value over that of the balance of the eased area, but I do
feel that they do add to the value of the total tract; therefore, the value of these tracts will be
included in that of the complete tract. They are not valued as separate components. There is no
enhancement.

The Fair Market Value of the easement gift as of December 4, 2018 is as follows and is based
upon the before and after method. The total Fair Market Value of the Subject Property before it
was encumbered by the Conservation Easement was $36,550,683. The total Fair Market Value
of the Subject Property after the encumbrance by a Conservation Easement was $233,640.
Using the before and after method, the total Fair Market Value of the Conservation Easement is
$36,317,000 (rounded).



 Total Fair Market Value Before the Easement            77.88       $36,550,683
 Total Fair Market Value After the Easement             77.88             $233,640
 Fair Market Value of the Easement (rounded)                        $36,317,000

Fair Market Value of the Conservation Easement on the effective date is:

THIRTY-SIX MILLION THREE HUNDRED SEVENTEEN THOUSAND DOLLARS

I certify that I have no future or present interest in the Subject Property. Further, my fee has not
been based in whole or in part upon a percentage of the appraised Fair Market Value of the
property, nor has the fee in any way been contingent upon the appraised Fair Market Value.
I understand that a substantial or gross valuation misstatement resulting from an appraisal of the
Fair Market Value of property that the appraiser knows, or reasonably should have known, or
would be used in connection with a return or claim for refund, may subject the appraiser to a
civil penalty under Section 6695A and or 6701.

To the knowledge of the undersigned, other than as provided in the subject easement and the
farm lease, there is no agreement or understanding entered into (or expected to be entered into)
by or on behalf of the donors that relate to the use, sale or disposition of the donated property,
including for example, the terms of any agreement or understanding that temporarily or
permanently restricts a donee's right to use or dispose of the donated property, earmarks donated
property for a particular use, or reserves to, or confers upon, anyone (other than a donee
organization or an organization participating with a donee organization in cooperative fund
raising) any right to the income from the donated property or to the possession of the property,
including the right to acquire the property by purchase or otherwise, or to designate the person
having the income, possession, or right to acquire the property.

Please refer to additional certifications found in the attached report.

Respectfully submitted




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Certification
Certification of Appraiser

    I certify that, to the best of my knowledge and belief:

   1. I hold myself out to the public as a real estate appraiser and perform appraisals on a
      regular basis. Because of my qualifications, as described in this appraisal pursuant to
      Treasury Regulations Section l. l 70A-13(c)(3)(ii)(F), I am qualified to make appraisals
      of real property encumbered by a conservation easement. I have not been barred from
      testifying before the IRS.

   2. I have not been prohibited from practicing before the IRS by the Secretary under Section
      330(c) of Title 31, United States Code, at any time during the three-year period ending on
      the date of the appraisal.

   3. I am not a person described in Treasury Regulation l. l 70A-13(c) (5) (iv) in relation to
      (1) the property that is the subject of this report, (2) the owners of the property that is the
      subject of this report, or (3) the donee organization.

   4. The statements of fact contained in this report are true and correct.

   5. The reported analyses, opinions, and conclusions limited only by the reported
      assumptions and limiting conditions, and is my personal, unbiased professional analysis,
      opinion, and conclusion.

   6. I have no present or prospective interest in the property that is the subject of this report,
      and I have no personal interest or bias with respect to the parties involved.

   7. My compensation is not contingent upon the reporting of a predetermined Fair Market
      Value or direction in Fair Market Value that favors the cause of the client, the amount of
      the Fair Market Value estimate, the attainment of a stipulated result, or the occurrence of
      a subsequent event. Further, my fee has not been based in whole or in part upon a
      percentage of the appraised Fair Market Value of the property, nor has the fee in any way
      been contingent upon the appraised Fair Market Value.

   8. My analyses, opinions, and conclusions were developed, and this report has been
      prepared, in conformity with the Uniform Standards of Professional Appraisal Practice. I
      certify that I have no future or present interest in the Subject Property.

   9. I understand that a substantial or gross valuation misstatement resulting from an appraisal
      of the Fair Market Value of property that the appraiser knows, or reasonably should have
      known, to be used in connection with a return or claim for refund, may subject the
      appraiser to a civil penalty under Section 6695A.




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   10. I understand that an intentionally false or fraudulent overstatement of the Fair Market
       Value of the property described in this appraisal or appraisal summary may subject me to
       a civil penalty under Section 6701 for aiding and abetting an understatement of tax
       liability, and, moreover that I may have appraisals disregarded pursuant to 31 U.S.C.
       3330(c).

   11. I, Claud Clark III, have made a personal inspection of the Subject Property on January
       21, 019 and have developed the Fair Market Value.

   12. No one provided significant real property appraisal assistance to the person signing this
       certification.

   13. I have not prepared an appraisal of the Subject Property in the last five (5) years.

   14. As of the date of this report, I, Claud Clark III, have completed the Standards and Ethics
       Education Requirements for Practicing Affiliates of the Appraisal Institute.

   15. To the knowledge of the undersigned, other than as provided in the subject easement and
       the farm lease, there is no agreement or understanding entered into (or expected to be
       entered into) by or on behalf of the donors that relate to the use, sale or disposition of the
       donated property, including, for example, the terms of any agreement or understanding
       that temporarily or permanently restricts a donee's right to use or dispose of the donated
       property, earmarks donated property for a particular use, or reserves to, or confers upon,
       anyone (other than a donee organization or an organization participating with a donee
       organization in cooperative fund raising) any right to the income from the donated
       property or to the possession of the property, including the right to acquire the property
       by purchase or otherwise, or to designate the person having the income, possession, or
       right to acquire the property.

   16. I am not closely related to the contemplated transaction and I will not receive a benefit in
       connection with the donation described herein.




Claud Clark III
State Certified General Real Property Appraiser
NC License #A7692 G




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Summary of the Appraisal

Property Type:                   Conservation Easement

Location:                        The subject is located off US Hwy 17 in New Bern, Craven
                                 County, North Carolina.

Purposes of the Appraisal:       To estimate, for federal and state income tax purpose, the
                                 fair market value of the conservation easement.

Function of the Appraisal:       To estimate the fair market value of a conservation
                                 easement.

Date of the Appraisal Report:    February 1, 2019

Date of Property Inspection:     January 21, 2019

Date of Value Estimates:         December 4, 2018

Date of Donation                 December 4, 2018

Property Rights Appraised:       Before:        Fee Simple Interest
                                 After:         Fee Simple Interest Subject to Easement

Zoning:                          R-8 and C-3

Site:                            77.88 Acres

Easement:                        77.88 Acres

Reserved:                        Four residential building areas and one community building
                                 area totaling 5 acres and remaining part of the easement

Total:                           77.88 Acres

Improvements:                    None

High and Best Use                Before:       Residential Development
of Site as Though Vacant:        After:        Recreational/ Green Space with Five
                                 Reserved Building Zones totaling 5 acres

Appraiser:                       Claud Clark III as an Employee and Sole Owner of
                                 Claud Clark III, PC         EIN XX-XXXXXXX
                                 SS# ***-**-1840 Will be provided to IRS upon request.




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Assumptions and Limiting Conditions

PLEASE NOTE THAT THE ACCEPTANCE AND/OR USE OF THIS APPRAISAL AND REPORT CONSTITUTES
ACCEPTANCE OF THE FOLLOWING TERlvfS AND CONDITIONS:


Limited Publication, Distribution, and Use of This Report

Possession of this report or any copy thereof does not carry with it the right of publication, nor may it be used for other than its
intended use; the physical report(s) remain the property of the appraiser for the use of the client, the fee being for analytical
services only. Any person or corporation other than the client thereof cannot use this report or a copy or party to whom it is
addressed without the written consent of this appraisal firm and then only in its entirety. The authentic copies of this report are
signed in blue ink. Other copies are unauthorized and may be incomplete or altered.

This appraisal consists of "trade secrets and commercial or financial information" which is privileged and confidential and
exempted from disclosure under 5 U.S.C. 552(b) (4). Notify the appraiser(s) signing the report of any request to reproduce this
appraisal in whole or in part.

Limited Disclosure to the Public through the Media

No part of the contents of this report may be conveyed to the public through advertising, public relation efforts, news, sales, or
other media, without the express and written consent of the appraiser. Neither may reference be made in such a public
communication to the Appraisal Institute or the MAI designation.

This appraisal is to be used only in its entirety and no part is to be used without the whole report.

Limited Disclosure of the Report by the Appraiser

The appraiser agrees not to divulge the material (valuation) content of this report. The exceptions are as required by The Real
Estate Appraisal Board of the State of North Carolina or the Appraisal Institute as they may request, in confidence, for ethics
enforcement; or by a court of law or body with the power of subpoena. This means that the appraiser will keep secret the
analytical findings and conclusions for the property or properties being appraised. The appraiser agrees not to give a copy of this
report to anyone other than the client or his designee unless requested in writing by the client.

Information Furnished is Assumed to be Accurate

No responsibility is assumed for the accuracy of information furnished by the client, his designee, or public records. We are not
liable for such information or the work of possible subcontractors. Be advised that some of the people associated with the Real
Estate Appraisal Office of Claud Clark III, PC and any associates possibly signing the report are independent contractors. The
comparable data relied upon in this report has been confirrned with one or more parties familiar with the transaction, and/or
public records, and/or some other form of affidavit; all are considered appropriate for inclusion to the best of our judgment and
knowledge.

Limited Use of Exhibits

The sketches, maps and other exhibits shown as part of this report are included to assist the reader in visualizing the property and
its various attributes. These exhibits are not necessarily to scale. Site plans should not be confused with surveys. Only an exhibit
labeled "survey" and signed by a surveyor should be relied upon as a survey.

No Responsibility Assumed for Legal, Engineering, Environmental Financial, Structural, Mechanical, Hidden
Components or Soil Conditions

No responsibility is assumed for matters legal in character or nature, or matters of survey, or of any architectural, structural,
mechanical or engineering nature. No opinion is rendered as to the title, which is presumed to be good and merchantable. The
property is appraised as if free and clear, unless otherwise stated in particular parts of this report.

The appraiser has inspected as far as possible, by observation, the land and the improvements thereon; however, it was not
possible to personally observe conditions beneath the soil or hidden structural and certain other components. This appraisal is
based on the assumption that there are no hidden or apparent conditions of the property site, subsoil, or structures, which would
render it more or less valuable. No responsibility is assumed for any such conditions or for any expertise or engineering to
discover them.




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The appraiser does not have the environmental expertise necessary to make judgments as to the acceptability of these concerns. It
is recommended that an environmental expert be consulted, and an environmental abatement firm estimate the cost of any such
abatement necessary to correct any condition found.

Mechanical components within the improvements have not been critically inspected and no representations are made herein as to
these matters unless specifically stated in this report. All mechanical components are assumed to be in operable condition and
considered standard for properties of the subject type. Conditions of heating, cooling, ventilation, electrical and plumbing
equipment is considered to be commensurate with the condition of the balance of the improvements unless otherwise stated. No
judgment is made as to the adequacy of insulation, type of insulation or energy efficiency. The value estimate considers that no
such conditions that would cause a loss of value exist.

The land or soil of the area being appraised appears firm; however, the exact character of the soil and subsoil is not known. The
appraiser does not warrant against problems arising from soil or subsoil conditions.

The legal description used in this report is assumed to be correct as furnished by the client or his designee. The legal description
may have been developed by the appraiser from information from other sources, such as Tax Assessor's records. In any event,
the legal description is to assist in the identification of the property to be appraised and must not be used otherwise.

Value Limited to Legal Uses

This appraisal is based on the premise that there is full compliance with all applicable federal, state and local environmental
regulations and laws unless otherwise stated in the report. We have assumed all applicable zoning, building and use regulations
and restrictions have been obeyed unless otherwise stated in the report. All required licenses, consents, permits or other
legislative or administrative approvals are assumed to have been obtained or renewed for any use considered in the value
estimate.

Limited Use of Component Values

The distribution of the total valuation in this report between land and improvements applies only under the existing or proposed
program of utilization. The separate valuations for land and building must not be used in conjunction with any other appraisal and
may be invalid if so used.

Limited Access to Auxiliary and Related Studies

No environmental impact studies, special market studies, highest and best use studies or feasibility studies have been made or
requested unless otherwise specified in an agreement for services or in this report. The appraiser reserves the unlimited right to
alter, amend, revise or rescind any of the statements, findings, opinions, values, estimates or conclusions upon any subsequent
such study or analysis or previous study or analysis subsequently becoming known to him.

Value Limited to Real Estate Unless Othenvise Specified

Furnishings, equipment or other business related items not typically considered as part of the real estate are not normally valued.
These items have been disregarded with only the real estate being considered in the value estimate unless otherwise stated in this
report.

Limitations of a Value Estimate in a Dynamic Market

The Fair Market Value estimate is made within the context of a dynamic real estate market and is subject to change with the
passage of time. Value is highly related to exposure, time, promotional effort, and terms of sale, motivation and conditions
surrounding the offering. This value estimate has sought to consider the productivity and relative attractiveness of the property
physically and economically in the marketplace.

The "Estimate of Fair Market Value" in this appraisal report is not based in whole or in part upon the race, color or national
origin of the present owners or occupants of the properties in the vicinity of the property being appraised.

In cases of appraisals involving the capitalization of income benefits, the estimate of Fair Market Value is a reflection of such
benefits, as well as, the appraiser's interpretation of income, yields and other factors derived from general and specific market
information. Such estimates are as of the date of the estimate of value; they are subject to change as the market is naturally
dynamic.




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Competent Management Assumed

It is assumed that the property, which is the subject of this report, will be under prudent and competent ownership and
management, neither inefficient nor excessive.

Assumptions for Proposed Improvements

If the property being appraised contains any proposed improvements or repairs, whether on site or off of the site, these
improvements and/or repairs are expected to be completed in a good and workmanlike and timely manner and according to
information submitted and/or considered by the appraiser. In cases of proposed construction, the appraised value and conditions
are subject to change upon inspection of the property after construction is completed, if any material differences are found to
exist. The estimate of Fair Market Value is as of the date shown in the report, as proposed, and as if completed and operating at
the levels shown and projected in the report.

In order to fully disclose all pertinent data and ensure that the reader and/or user of the report is fully aware that the
a. The improved Subject Property does not yet, in fact, exist as of the date of the appraisal;
b. The analysis performed to develop the estimate of value is based on a hypothesis, specifically that the improved Subject
Property is assumed to exist when, in fact, it does not exist;
c. Certain events need to occur, as disclosed in the report, before the property appraised with the proposed improvements will in
fact exist; and
d. The appraisal does not address unforeseeable events that could alter the proposed property improvements, and/or the market
conditions reflected in the analyses.

Currency Basis

The value estimated and as reported herein is in U.S. Dollars on the basis of the banking and currency exchange prevailing as of
the date of appraisal.

Word Case

Words used herein whether in the singular or plural shall be considered both, singular or plural as the case may apply and as
appropriate for the intent of the circumstances.

Limitation of Data Used

The information contained herein, including any data, estimates, or opinions, furnished by others, to the appraiser, are not
guaranteed, but were gathered from sources believed to be reliable. Since every appraisal consists, in part of data, which are
legally "hearsay evidence," the appraiser reserves the right to revise the report including the value estimate to the extent justified
by subsequent discovery of any additional and/or inaccuracies in such data.

The Americans with Disabilities Act

The Americans with Disabilities Act ("ADA") became effective January 26, 1992. We have not made a specific compliance
survey and analysis of this property to determine whether or not it is in conformity with the various detailed requirements of the
ADA. It is possible that a compliance survey of the property together with a detail analysis of the requirements of the ADA could
reveal that this property is not in compliance with one or more of the requirements of the act. If so, this fact could negatively
affect the value of this property. Since we have no direct evidence relating to this issue, we did not consider possible non-
compliance with the requirements of the ADA in estimating the value of the property.

Hazardous Waste

Unless otherwise stated in this report, the appraiser did not observe the existence of hazardous material, which may or may not be
present on the property. The appraiser has no knowledge of the existence of such materials on or in the property. The appraiser,
however, is not qualified to detect such substances. The presence of substances such as asbestos, urea-formaldehyde foam
insulation or other potentially hazardous materials may affect the value of the property. The value estimate is predicated on the
assumption that there is no such material on or in the property that would cause a loss in value. No responsibility is assumed for
any such conditions, or for any expertise or engineering knowledge required discovering them. The client is urged to retain an
expert is this field, if desired.




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Legal Descriptions and Maps


                                                                                                                          EXHIBIT "N'

                                                                                                    LEGAL DESCRIPTION
                                                                                                           OF
                                                                                                   OLD BEAR, LLC TRACT


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The cost approach to Fair Market Value utilizes reproduction or replacement cost. This cost is
often obtained from local sources and Marshall and Swift Valuation Service. Cost developed is
compared with local data. Sales comparison approach entails a review and analysis of sales of
comparable properties and concludes with a correlation of market data where relevant material is
brought together and summarized into a Fair Market Value statement. The role of the income
approach is to develop the present worth of an income stream, which the property can generate
with its highest and best use. This approach is based largely on the concept that Fair Market
Value, in effect, is the present worth of future rights to income.

Following completion of the appraisal, which will include processing of the approaches, as
dictated by the circumstances, the process is finished through the reconciliation or correlation.

In the reconciliation (correlation), a final Fair Market Value statement is developed which
reflects the main elements of the data. The merits and limitations of each approach are reviewed
and weighed. Reconciliation (or data correlation) is Step 7.

The eighth and final step in an appraisal comprises reporting the findings to the client or reader.
Report concludes with a certification, as well as assumptions and limiting conditions upon which
the certification is based. Reports are of varying length and content.

An appraisal is only an opinion of Fair Market Value, based on the information that can be
uncovered during the time permitted. In the process, the appraiser will develop several Fair
Market Value estimates, which he will weigh and finally correlate into a final Fair Market
Value estimate or range of Fair Market Values, depending on the requirements of the
assignment. An appraiser can only estimate Fair Market Value; he can examine the data and
exercise his judgment to arrive at an educated opinion of Fair Market Value. It is not a fact.
Scope and goal of the appraisal report are outlined at this point. Appraisal will include the
accumulation of information, sales, neighborhood and area data, as they relate to Fair Market
Value and the property rights, which are described in the report. The typical appraisal of
minable properties involves one or two approaches.

In the following sections of the report, I have estimated the Fair Market Value of the Subject
Property both before and after the donation of the easement utilizing all of the applicable
approaches to Fair Market Value. Then, consistent with the principles of easement appraising, I
have subtracted the estimated subject Fair Market Value after the easement from the estimated
Fair Market Value before the easement, and then made a deduction to reflect the cost of
constructing the additional space in the potential Subject Property before the easement. The
result of this calculation is the estimated Fair Market Value of the easement.

Since the property is vacant land with development Fair Market Value, we have used the sales
comparison approach and the income approach to Fair Market Value. The Cost Approach was
not considered.




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Sales of property in the neighborhood and area will be collected and analyzed. Sale properties
accumulated share with the subject the highest and best use, which is generally comparable to
that of the appraised subject. Obtainable comparable sales sometimes require expanding the
search into nearby counties and gathering older data when no recent sales are available. We rely
on creditable sources such as local and county sites, real estate agents in the areas, and sites such
as CoStar for comparable sale data; we have not personally inspected these sales.

The initial phase of the assignment starts with an inspection of the property. Owing to the nature
of the work, inspection phase may take a number of visits. Chief objective of these inspections
is to locate and identify all portions of the property, which support highest and best use.

The report is divided into three sections.

Section I of the report, which deals with the unencumbered fee estate.

Section II of the report, which deals with the encumbered fee estate.

Section III of the report, which deals with reconciliation.

Sales were drawn from the area.

Highest and Best Use of the 127.17-acre portion of the Subject Property is substantially limited
once encumbered by easement. Development is now perpetually prohibited, except in designated
building zones and the excluded 20-acre outparcel.

Competency Provision

Based on my experience in appraising similar properties, I have the required data and experience
to complete this appraisal in accordance with the competency provision of the Uniform
Standards of Professional Appraisal Practice as promulgated by the Appraisal Foundation.

I completed the Valuation of Conservation Easements Certificate Program.

I have prepared many conservation easement appraisals over the last twenty years.

Specific education relative to the assignment are:

The Income Approach, The Cost Approach, Highest and Best Use, Market Approach
Appraisal of Conservation Easements, Appraisal of Land

Intended User

The term "intended user" is defined by USP AP as: "The client and any other party as identified,
by name or type, as users of the appraisal, appraisal review, or consulting report, by the appraiser
based on communication with the client at the time of the assignment".




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Identification of the Subject Property

The subject is located off SC Highway 141 in Jasper County, South Carolina, approximately 10
miles from Interstate 95.

Prior Sales History

There have been no qualified sales or transfers of the subject property within the last three years.
The Subject is not listed for sale.

In accordance with USPAP Standard 1-5, I conducted a search of the public records and found
no sales of the subject property within the past three years. However, I am aware that the
majority equity owner of the entity that is the proposed donor of the conservation easement
affecting the subject property recently acquired its 95% ownership in that entity. I do not think
that a purchase of a membership interest in a partnership reflects the intent of the IRS Code.
(Note: A membership interest is not the sale of the property.) The seller of the property lacked
both the expertise and the resources to ascertain or command the maximum potential value of the
property through the establishment of a plan for development that was maximally productive.

§ 1. l 70A-l 4 26 CFR Ch. I (4-1-03 Edition)

(ii) Fair market value of property before and after restriction. If before and after valuation is
used, the fair market value of the property before contribution of the conservation restriction
must take into account not only the current use of the property, but also an objective assessment
of how immediate or remote the likelihood is that the property, absent the restriction, would in
fact be developed, as well as any effect from zoning, conservation, or historic preservation laws
that already restrict the property's potential highest and best use.

Ownership

Punta Vista Grande, LLC

Improvements

None

Taxes




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The overall rating of the perceived environmental issues, earthquake, and other hazard
characteristics for the Subject Property is considered to be good.

Environmental Checklist:
       • Observed or reported current or past use of hazardous material "in bulk":
                                                  On-Site: No; Adjacent: No
       • Observed above-ground storage tanks, underground storage tanks, sumps or 55-gallon
         drums which may contain hazardous materials:
                                                  On-Site: No; Adjacent: No
       • Observed staining of soils:              On-Site: No; Adjacent: No
       • Observed distressed vegetation:          On-Site: No; Adjacent: No
       • Observed evidence of activities which may involve the use, handling, or disposal of
         hazardous materials "in bulk":
                                                  On-Site: No; Adjacent: No
       • Observed noticeable odors:               On-Site: No; Adjacent: No

The individual performing this Environmental Checklist is not liable for failure to detect or
identify possible environmental factors and hazards on the Subject Property.

This Environmental Checklist, as well as, this entire report must not be considered, under any
circumstances, to be an environmental site assessment of the Subject Property, as would be
otherwise performed by an environmental professional.

Site Improvements:

There are no on-site improvements on the Subject Property, as it is vacant land.

Conclusion:

The Subject Property consists of approximately 127.17 acres.

The shape and topography of the Subject Property has the physical characteristics to support the
proposed development.




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